             Case 5:21-cv-01136-F Document 82 Filed 03/07/23 Page 1 of 2




                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF OKLAHOMA

STATE OF OKLAHOMA, et al.,

                                  Plaintiffs,
                      v.                              Case No: 5:21-cv-01136-F

JOSEPH R. BIDEN, JR., et al.,

                                  Defendants.



                PLAINTIFFS’ NOTICE OF VOLUNTARY DISMISSAL

      Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiffs Matthew

Guernsey and Regina L. Gritsavage, M.D. voluntarily dismiss their claims without

prejudice.

March 7, 2023                           Respectfully submitted,

                                        Zach West
                                         Director of Special Litigation
                                        OFFICE OF THE ATTORNEY GENERAL
                                         OF THE STATE OF OKLAHOMA
                                        313 NE 21st Street
                                        Oklahoma City, OK 73105
                                        (405) 521-3921
                                        zach.west@oag.ok.gov
Case 5:21-cv-01136-F Document 82 Filed 03/07/23 Page 2 of 2




                          /s/ H. Christopher Bartolomucci
                          Gene C. Schaerr*
                          H. Christopher Bartolomucci*
                          Brian J. Field*
                          SCHAERR | JAFFE LLP
                          1717 K Street NW, Suite 900
                          Washington, DC 20006
                          (202) 787-1060
                          gschaerr@schaerr-jaffe.com
                          cbartolomucci@schaerr-jaffe.com
                          bfield@schaerr-jaffe.com

                          *Admitted pro hac vice

                          Counsel for Plaintiffs




                            2
